                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:12-00055
                                                )           JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE, et al.                     )


                                            ORDER

       Pending before the Court is the United States’ Response To Court’s Inquiry (Docket No.

121), indicating that the Government served the Defendants with its Sealed Motion (Docket No.

119) notwithstanding the absence of a certificate of service. The Defendants shall file any

responses to the Sealed Motion on or before October 15, 2013.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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